                  IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                       CASE NO. 1:19-cv-01229-LCB-LPA

ANDRE FLOYD CHAMBERS,                       )
                                            )
                             Plaintiff,     )
                                            )
                                                    DEFENDANT WAKE FOREST
        v.                                  )
                                                   BAPTIST MEDICAL CENTER’S
                                            )
                                                     MOTION FOR SUMMARY
WAKE FOREST UNIVERSITY                      )
                                                           JUDGMENT
BAPTIST MEDICAL CENTER,                     )
                                            )
                             Defendant.     )
                                            )


       Pursuant to Rule 56 of the Federal Rules of Civil Procedure and Local Rule 56.1,

Defendant Wake Forest Baptist Medical Center Inc. (“WFUBMC”) hereby moves for an

award of summary judgment in its favor. Based on the pleadings, depositions and other

discovery materials, and the facts and authorities set forth in the accompanying

Memorandum in Support of Defendant Wake Forest Baptist Medical Center’s Motion for

Summary Judgment, Defendant WFUBMC submits that there is no genuine issue of

material fact and as such it is entitled to judgment as a matter of law.




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This the 30th day of June, 2021.



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                            CERTIFICATE OF SERVICE

       I hereby certify that I electronically filed DEFENDANT WAKE FOREST

BAPTIST MEDICAL CENTER’S MOTION FOR SUMMARY JUDGMENT with

the Clerk of the Court using the CM/ECF system which will send notification of such filing

to the following: Geraldine Sumter (gsumter@fergusonsumter.com).


       This the 30th day of June, 2021.


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